Case 6:23-cv-00077-NKM  Document1-2 Filed 12/11/23 Pagelof4 Pageid#: 21

IN THE GENERAL DISTRICT COURT OF LEXINGTON/ROCKBRIDGE COUNTY

RECEIVED

COUNTY OF ROCKBRIDGE,
pec 98 2023
Petitioner EX JROCKBRIDGE
“ pst. COURT

Vv.

te TP cenyyes (Sherali + | mails)

NOTICE
TO: Karland Debbie Mogensen
5784 S. Lee Highway
Natural Bridge, Virginia 24578
Gs coffes

PLEASE TAKE NOTICE that your 4 animes and-1elephast have not been
impounded but there will be a hearing for seizure to determine whether the animal(s)
have been subject to cruel treatment or neglect, pursuant to Section 3.2-65769, and 3.2-

6570 of the Code of Virginia, 1950, as amended.

A hearing will be conducted in ROCKBRIDGE COUNTY GENERAL DISTRICT
COURT, pursuant to Code Section 3.2-6569, on on 2023, to determine the

disposition of said animals.

Notice served on the 6th day of December, 2023, within the County of Rockbridge,
State of Virginia, by delivering a true copy of the Notice in writing to the above-named

owners/custodians, by personal service of process xX ; by substituted service of process in
the following manner ; or by posted service of process

By _( m Deter
Sgt. Christine Boczar
PowhatanSheriff’s Office

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IN THE GENERAL DISTRICT COURT OF LEXINGTON/ROCKBRIDGE COUNTY

COUNTY OF ROCKBRIDGE,
Petitioner

V.

we (6 \Rattes- 3 females + \male)

4 Animal

TO: Karl and Debbie Mogensen
5784 S. Lee Highway
Natural Bridge, Virginia 24578

PETITION PURSUANT TO VIRGINIA CODE § 3.2-6569

COMES NOW, Deputy Christine Boczar of Powhatan Sheriff's Office, Chief of Animal

Control Department, Virginia, pursuant to § 3.2-6569 of the Code of Virginia, 1950, as amended,

and respectfully represents as follows:
Giraffes, (2 fen +

That Karl and Debbie Mogensen are the owners/custodians of = Animals and one \ are

elephant. That the Etephentand 4 A have been abandoned, cruelly treated or

neglected.

WHEREFORE, your Petitioner, County of Rockbridge, respectfully prays that such a
hearing be held on emai 2023 at 9:00 a.m. and, if this Court finds the owner has

abandoned, cruelly treated or neglected the animals and the elephant, grant ownership of all to
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the County of Rockbridge.

Respectfully Submitted,

COMMOWEALTH’S ATTORNEY

(Wich Wor Wel

Michelle Welch,
Attorney for the Commonwealth

By:

MICHELLE WELCH

Special Prosecutor for Rockbridge
Commonwealth’s Attorney's Office
Senior Assistant Attorney General
Director of the Animal Law Unit
Office of the Attorney General
202 North Ninth Street
Richmond, Virginia 23219
Telephone: (804) 225-4776
Facsimile: (804) 786-2650

VSB: 44647
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SERVICE:
x Personal Service

Being unable to make personnel service, a copy was delivered in the following
manner.

Delivered to a family member (not temporary sojourner or guest) age 16 or older at
usual place of abode of party named above after giving information of its purport.
List name, age of recipient to party named above.

Posted on front door or such other door as appears to the main entrance of usual
place of abode. (other authorized recipient not found.)

Served on Secretary of the Commonwealth.

Not Found

(2-8 - a3 Cm Ban
Z

Date Serving Officer

Courts Disposition
a GRANTED Date:

a NOT GRANTED _ Date:

Judge, General District Court
Rockbridge County, Virginia

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